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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

'I`REASURE CI IEST THEMED VALUE MAIL, Civil Action No.

INC-» 1 :17-cv-0001-NRB n
Plaintiff Lbi)L bUNY
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ELECTRONICALLY FILED
DAVID MORRIS INTERNATIONAL, INC.,

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JOINT REPORT OUTLINING DISCOVERY PLAN

 

 

 

Pursuant to Rule 26(1) of the Federal Rules of Civil Procedure, the parties conferred and
jointly submit this report outlining certain positions and agreements with respect to the parties’
discovery plan in the above-referenced action.

l. Defendant’s Amended Answer
Defendant will file an amended answer ngune 28, 2017.
2. Initial Disclosures

The parties agree to exchange initial disclosures pursuant to Fed. R. Civ. P. 26(a)(l) by
July 1, 2017.

3. Written Discoverv and Document Production

The parties agree that interrogatories shall be governed by the limits set forth in Fed. R.
Civ. P. 33 and Local Rule 33.3, unless such limits are subsequently modified by agreement of the
parties or by order of the Court.

The parties also agree that document productions shall be made, so far as practicable, in
electronic format (.PDF) with the option to request native, subject to the right of any party to

inspect the original hard copies.

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At this time, the parties do not anticipate that the discovery of electronically stored
information (“ESI”) will present any significant issues in this action. The parties agree that if
relevant, discoverable ESI that is responsive to requests for production, is reasonably related to
Plaintist claims or Defendant’s defenses, is reasonably accessible, and is maintained in the
ordinary course of business, will be produced in .PDF format.

4. Degositions

The parties agree that each party may notice no more than four (4) deposition days.
These limits are based upon currently-available information, and the parties reserve their rights
to seek an increase in the number of deposition days depending upon future developments in the
action.

The parties also agree to establish in advance a system of numbering deposition exhibits
to ensure that unique exhibit numbers, suitable for use at trial and in all motion papers and other
submissions to the Court, is employed

5. Service by E-Mail or Next Dav Courier

The parties agree to effectuate service by e-mail (when practicable) or the electronic case
filing (“ECF”) system of all pleadings, motions, and other documents requiring service. When
served by email, each party Will acknowledge service within 24 hours with an email stating “I
confirm receipt.” The subject headings of the emails will contain the deadline for responding, if
applicable, to all items attached or included in the email. In addition, if at any time a party
wishes to withdraw from email service, that party may do so With or without case after which the
parties will serve each other under the methods provided by the Federal Rules of Civil

Procedure.

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6. Pretrial Schedule

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ACTION

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Comrnencement of Discovery

Immediately

 

Completion of Document Production

August 7, 2017

 

F act Discovery Cutoff

September 30, 2017

 

 

 

 

 

 

 

Depositions On or before August 31, 2017
otions for Summary Adjudication October 21, 2017; Oppositions 20 Days
. Thereafter‘ Reply Briefs 10 days

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Joint Pretrial Order \\ Deeember-lé- AQLM¢ 3 g g M 0
Trial Date As Ordered by the Court

Dated: June 23, 2017 Respectfully submitted,

/s Daniel Knox

Knox Law Group, P.C.
Attorneysfor Plaintz']j"

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New Yorl<, NY 10119

 

